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               Presentation to the SEC
                               September 25, 2014




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                                          5 U.S.C. § 552
                                          17 C.F.R. § 200.83

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          Disclaimer
               We are presenting the results of our review to the SEC. Our goal is to be open and
               cooperative. We do not, however, intend to make any waiver of information that is
               protected by the attorney-client privilege, attorney work product doctrine, or other
               applicable privileges beyond the presentation itself, and this report should not be
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                                                 Agenda
               • Overview of Ligand

               • Emmanuel Lemelson and the Amvona Fund

               • Lemelson’s False and Misleading statements

                   – Insolvency, Bankruptcy and Other Claims

                   – Misrepresentations Regarding Promacta

               • Illegal “Pump-and-Dump” and Boiler Room Tactics

               • Damage to Ligand and LGND Shareholders

               • Urgent Action Needed


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                        Overview of Ligand

                                                                                  John Higgins




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          Ligand Overview
          •    Founded 1987 in La Jolla, CA
          •    Strong history of drug discovery, development and partnering
          •    Over 60 novel clinical candidates and 14 approved medicines




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          Ligand Restructuring Highlights
          •    Prior to 2006, Ligand struggled with bloated costs and poor commercial success with
               its marketed products

          •    Major restructuring occurred 2006 to 2008

                –   18 senior executives resigned or were terminated
                –   All but one Board member resigned
                –   Divested commercial assets for $500 million

          •    2007 rebuilt management team and Board to focus on new business model
                –   Early stage research
                –   Low operating costs
                –   Focus on partnering to general royalty revenue

          • Now have large portfolio of over 100 partnered drug programs
          • 6 acquisitions in last 7 years have added significantly to our portfolio and increased
            depth of partnerships

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          Growth of Ligand’s Portfolio

          100
                                    100 +
                                                 In six years…
                                                 11x increase in fully-funded programs
           80
                                                 7x increase in revenue-generating products
           60



           40
                                                 What does this say about the business?
                                                        1.      Ligand is executing well to expand its
                                                                portfolio, adding assets to drive long-
           20
                  9                                             term value
                                                        2.      Ligand partners have been successful
            0
                 2008               2014                        getting new products to the market
                Fully-Funded Programs
                  (“Shots-on-Goal”)
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          Portfolio of over 100 Fully-funded Programs

                  Type of Partner                                                  Stage of Development
          Big Pharma                                                                                    Marketed + NDA
                                                                         Preclinical
                               35%                                                                      14%
                                                 Spec                                                               Phase 3 /
                                                                                            25%                7%   Pivotal
                                         9%      Pharma

                                         15%                                                                  16%
                         41%                                                                                        Phase 2
                                                  Generic                                         38%




               Biotech                                                                      Phase 1




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          Ligand’s Partners: Diversity Strengthens Portfolio
          Over 60 different partners

          Pharma                         Biotech                            Specialty           Generics
           Pfizer                   Amgen             Celgene        Allergan                    Hospira
           GSK                      Vertex            Melinta        Spectrum                    Coherus
           Merck                    Exelixis          Furiex         CURx                        BioCad
           BMS                      SAGE              Aldeyra        Ethicor                     (4 undisclosed)
           AstraZeneca              Viking            Cardioxyl      Lundbeck
           Eli Lilly                MEI               Azure          CSL Ltd.
           Sanofi-Aventis           Chiva             J-Pharma       Avion
           Takeda                   Retrophin         Meridian       (8 undisclosed)
           Baxter                   Merrimack         Aveo
           (3 undisclosed)          Glenmark          TCD
                                    VentiRx           Marinus
                                    Medivis           TG Therapeutics
                                    (8 undisclosed)

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        Ligand’s Fully-funded Partnerships

        •      We estimate our partners will spend over $800
               million in R&D in 2014 to advance our programs
                  —     14 Phase 3 trials
                  —     23 Phase 2 trials
                  —     42 Phase 1 trials
                  —     2 Phase 4 trials
                  —     19 preclinical programs
                  —     Manufacturing scale-up
                  —     Regulatory filing fees
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        Ligand Receives Revenue From 8 Products

               Product              Partner                  Therapy Areas
                                                                      ITP
                                      GSK                         Hepatitis C
                                                                Aplastic Anemia       • Plus, in 2014 we
                                                                                        will receive
                                                                   Multiple
                                    Amgen                          Myeloma              payments from
                                                                   Emergency
                                                                                        over 100 more
                                     Baxter                         Medicine            companies for
                                                                                        license fees and
                                     Pfizer                           Pain
                                                                                        Captisol
                                     Pfizer                         Women’s
                                                                     Health

                                     Merck                          Infection


                                     Pfizer                         Infection


                                     Pfizer                         Women’s
                                                                     Health


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        Ligand Annual Revenue Growth
                            $70
                                                       $64 – 66                                • Business is doing well with
                                                                                                 revenue outlook above
                            $60                                                                  original guidance of $62 to
                                                                                                 $64 million
                            $50
                                                $49.0

                                                                                               • Both Captisol and royalties
                                                                          License Fees
                            $40                                                                  growing in 2014 (Lemelson
               $ millions




                                                                          Captisol
                                                                                                 says both major revenue
                                  $30.0 $31.4                             Royalties
                            $30                                                                  sources will sharply decline)

                            $20



                            $10



                            $0
                                  2011   2012   2013      2014
                                                        Projected
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        Ligand’s Operating Costs
                        $80                          Focused spending discipline,
                                                         elimination of costs
                        $70
                                                          not driving value
                        $60


                        $50
           $ millions




                        $40                                                                                Flat expenses over
                                                                                                            past three years,
                        $30                                                                                   projected flat
                                                                                                                 for 2014
                        $20


                        $10


                        $0
                              2006   2007   2008   2009   2010     2011      2012      2013      2014
                                                                                               Projected
                               Combined Actual R&D and G&A Cash Expense
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           Revenue Growth and Flat Costs have Resulted in
           Increasing Cash Flow Generated by the Business
                            $70
                                                                                            Do not need to increase
                            $60
                                                                                             costs to grow revenue
                                                                                             from existing portfolio

                            $50
               $ millions




                            $40


                            $30                                                                    Revenue

                                                                                                   Cash Operating Expense
                            $20


                            $10


                            $0
                                   2011      2012       2013            2014
                                                                      Projected

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        Ligand Independent Board Members
        •      John Kozarich, Ph.D. (Chairman): CEO ActivX, (Medical Research Company)
               Former Vice President of Research-Merck, Tenured Professor Yale Univ.
        •      John LaMattina, Ph.D: Former President of Pfizer Inc., Head of Global R&D. 30
               years at Pfizer, reported to CEO
        •      Sunil Patel, M.S: CFO, OncoMed (public biotech company), Formerly Gilead,
               Connetics, Abgenix, McKinsey Consultant
        •      Todd Davis, M.B.A: Healthcare Royalty Partners (billion dollar investment
               fund). Formerly ELAN Pharmaceuticals, Abbott Labs, US Naval Officer
        •      David Knott, M.B.A: Chief Investment Manager Knott Partners
        •      Steve Sabba, M.D: Research Analyst and BIO Fund Head – Knott Partners.
               Formerly Sturza’s Medical Research, Kilkenny Capital Management
        •      Jason Aryeh: Partner JALAA Equities (biotech investment fund), Chairman QLT,
               Inc. (public biotech company)

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       Ligand being Recognized for its Achievements

        • CEO nominated as one of 5 nominees for 2013 CEO-of-The-Year based on
          “smart deal-making, a growing portfolio and a bean counter’s obsession with
          frugal spending”

        • Chairman named as one of Six Directors of the Year for 2014 by Corporate
          Directors Forum

        • Named Forbes “43 Best Investment Ideas for 2014”

        • Recognized in August 2014 as one of Fortune 100 fastest growing companies
          coming in at 13th on the list based on three year profit, revenue and stock
          growth




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                      Lemelson Profile and
                          The Amvona Fund
                                                                                  Charles Berkman




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        Lemelson Profile
           •   Questionable personal history
               —   Launched social campaign to publicly advocate mortgage default
               —   Used dubious litigation tactics to support default on ~$2M home mortgage
               —   Self promotion via Wikipedia, twitter postings and YouTube interviews

           •   Suspicious investment practices
               —   No formal investment education, training, or experience
               —   No financial models used - instead, stock analysis is “done in my head”
               —   Self-reported 257% overall gain over 24 month life of fund may be too good to be true

           •   Dishonest and dubious investment practices
               — Reverse pump-and-dump tactics used to quickly drive down shorted stocks
               — Uses religious credentials to inspire false confidence and raise money
               — Gives credit to God and prayer for his results
           •   Markets fund to raise capital under the JOBS Act
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        Amvona Fund Size
                                                         Year                        Fund Size
           Lemelson claims he began in:                  2012                        $2.7 Million

           Sept. 16 he claims fund increased             2014                        $18.9 Million
           “seven-fold” since 2012 inception

           Sept. 16 projected 24-fold increase in his 2016                           $400 to $500 Million
           fund, during next 2 years


            “I'm sure there's, you know, more than 100 investors who've expressed interest
        recently and it looks like, you know, in the next 24 months from now, perhaps we could
                            get to 400 or 500 million or something like that.”
                              - Emmanuel Lemelson (September 16, 2014)




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        Investment Philosophy Contradiction
               “Staying within a circle of competence with a focus on proficiency in select
                                          sectors is a hallmark… ”
                           - “Investment Philosophy” section of Lemelson Capital Website


                 Disclosed Investment                            Industry
                          Apple                       Consumer Electronics
                     Kulicke & Soffa              Manufacturing Equipment                  • Recent stocks
                 Ligand Pharmaceuticals                     Biotechnology                    targeted

                        Skechers                          Clothing/Apparel                 • Industries could
                                                                                             not be more
                    World Wrestling                                                          different
                                                      Sports/Entertainment
                    Entertainment



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        Lemelson: Religion and Investing
        Hallmarks of an Affinity Fraud
     • In multiple recent interviews, Lemelson aims to appeal to retail investors’
       religious faith to create a connection, build credibility and raise money

                                        “I think it’s hard sometimes for people to say, well, what role
                                        would a clergyman or … would we have as Christians in the
                                        financial markets? But, I would say how could we not have a
                                        role? It’s incredibly important.”

                                       “Pray and ask God to bless your endeavor, such that your
                                       results will glorify Him. In this way, you are most likely to
                                       pursue what you’re meant to be doing. When you discover this,
                                       your energy will be boundless and financial success will follow.”



                                      Photo from Wikipedia (http:wikipedia.org/wiki/Emmanuel_Lemelson) page
                                      that discusses Lemelson and highlights his fund and investments, including
                                      Ligand Pharmaceuticals



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        Lemelson: Religion and Investing
        Attributing Financial Success to Prayer
     • Lemelson credits his results to prayer
                          Joel Elconin: “Okay. And you
                          were the top hedge fund
                          manager rated by Barron’s in
                          2013, a good year in the
                          markets, what do you think
                          has been the key to your
                          success?”

                              Lemelson: “Well, glory be to God, first of all,
                              that [Barron’s rating Lemelson as a top hedge
                              fund manager] occurred… And, you know, I
                              would say that the key to success is really, you Photo above affixed to
                              know, prayer, actually.”                         YouTube financial interviews,
                                                                                       Interviews also posted to
                                                                                       Lantern Foundation website




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        Lemelson: Religion and Investing
        Hallmarks of an Affinity Fraud

      • Lemelson also utilizes images illustrating his religious affiliations to appeal to
        retail investors and suggests that God is blessing his work
               “But in a stubborn market that keeps rising, I think any manager has to look at the short
               side as well. And, thank God those have done well, those positions.“ [referring to LGND
               short position]

               "You know, glory to God as I always say. You know, I mean, we asked that our work
               would be blessed. And that morning, WWE really tanked . . ."


      • Uses pulpit of Lantern Foundation (Religious non-profit) web-page to post his
        pump-and-dump stock interviews


                                                                                        A registered 501c(3) private foundation
                                                                                        solicits money for religious groups,
                                                                                        Lemelson Founded and serves as President


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        Lemelson: Religion and Investing
        Investors referring to their fund manager as “Father”


      • Lemelson’s faith permeates his
        communications about investing and the
        Amvona Fund
               • States “word Amvona is derived from
                 the ancient Greek word for ‘Pulpit’”
      • Lemelson’s investors refer to him as
        “Father” when commenting about their
        expected investment returns
                 "Jokingly, they say, ‘Well Father, you know, we do expect [the same returns in
                 the future].’”

       • Lemelson repeatedly mixes financial voice and religious position/messages to
         mislead investors

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        Lemelson: Religion and Investing
        Multi-level Social Media Campaign

      • Lemelson utilizes at least three Twitter accounts to create digital traffic and
        visibility
                         Uses Amvona Fund Twitter Account to retweet messages
                         from both his own (@Lemelson) and Lemelson Capital accounts




                                Tweets relating to religious commentary and current events,
                                   mixed with stock performance
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        Lemelson: Outperformance Claims
      • “It represents the third time in eight months that Barron's monthly performance
        rankings of global hedge funds has included The Amvona Fund among the world's top
        performers.” – 5/27/14 Lemelson Capital Management Press Release
               – No historical record available
               – Performance ranking derived from un-audited, self reporting

      • “From inception in September 2012 through May 2014 (21 months) - The Amvona
        Fund, LP has returned a Compounded Annual Gain of 85.15% (58.51% net) and
        an Overall Gain of 193.65% (123.90% net).” – 6/4/14 LCM Press Release
               – Over the same period here is what the indexes returned for overall gains
                  • Dow =         27.7%
                  • S&P 500 =     36.8%
                  • Nasdaq =     38.3%
                  • Lemelson = 193.7%
               – The difference between overall (gross) and net gains for the Amvona fund is as follows:
                    • Fees and expenses annualized: 31.3%
                    • Fees and expenses since inception: 36.0%


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        Lemelson: Outperformance Claims
      • “During this period, the fund beat the benchmark S&P 500 Total Returns Index by
        407.95 percent, returning 87.22 percent net of all fees and expenses.” (referring to LTM
        performance) – 7/13/14 LCM Press Release
                – Lemelson is claiming that over the prior 12 month period his fund beat the S&P index
                  by 5 fold
                – When he reports his performance, his timing is random. He could pick a day when he
                  is up and markets are down

      • “The firm also today released the overall and net gains for the fund since inception,
        which were, respectively, 257.74 percent and 160.21 percent. The fund’s performance
        since inception has outperformed the benchmark S&P 500 Total Returns Index by
        209.07 percent (111.54 percent net of all fees and expenses).” – 9/5/14 LCM Press Release
                – Difference between Gross and Net returns increasing. Fees and expenses as a percent
                  of overall returns increased from 36% when reported in June to 38% when reported
                  two months later in September
                – He reports his performance on different days of the month, potentially in order to fix
                  his returns


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       Insolvency, Bankruptcy and Other Claims

                                                                            Nishan de Silva




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        Lemelson’s Insolvency Claims
        •      Lemelson has claimed several times that Ligand is insolvent

        •      Solvency is defined as the ability to pay for one’s debts as they come due

                 — Ligand is NOT insolvent

        •      Lemelson uses a highly unusual definition of insolvency to assert that
               Ligand is insolvent

                 — According to Lemelson, “liabilities exceeded tangible assets, meaning the
                   company was insolvent”

        •      By using the term “insolvent”, Lemelson is attempting to make retail
               investors believe that Ligand is truly insolvent, which is completely
               unfounded




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        Lemelson’s “Insolvency” Claims
        •      “On August 4, 2014, Ligand released their Q2 earnings report and financial statements in
               which the company boasted that it was debt free. Prior to this August 4 release, the
               company’s liabilities exceeded tangible assets, meaning the company was insolvent”

        •      “[The convertible note] further deepens the company’s insolvency and likelihood of
               liquidation or reorganization under Chapter 7 or Chapter 11 of the bankruptcy code under
               which remaining Ligand common shareholders have only the protection of $21,000 in tangible
               equity to shield them from $245M in debt”

        •      “If the bond offering succeeds, the company’s liabilities will again far exceed its assets and the
               company will be technically insolvent once more”

        •      “This was a company that enjoyed six days of solvency (from Aug. 1 to 7)”

        •      “The increased debt service will dramatically intensify going concern risk, which the
               company discussed at length in its 2013 annual report, and its prospects for bankruptcy”

        •      “Should the call feature of Ligand’s debt be exercised, as is possible and even likely, common
               shareholders would be wiped out immediately”

        •      “The company had issued $245M in new debt against the company's tangible equity of just
               $21,000, giving rise to a debt to tangible equity ratio of 11,667-to-1 (that is to say $11,667 in
               debt for every $1 in tangible common shareholder equity)”
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        “Insolvency” Claims: The Facts
        • The definition of insolvency is NOT that liabilities exceed tangible assets

        • At the time Lemelson claims Ligand was insolvent, the Company had $11.6M in
          cash on hand, not accounting for future cash flows
               — This was more than sufficient to pay for accrued expenses for the following quarter
               — Ligand is building cash every quarter and is profitable

        • Ligand’s liabilities do NOT exceed it assets, even after the convertible note offering

               — As of Q2 2014, Ligand reported total assets of $99.8M and total liabilities of $36.8M
               — Pro forma for the convertible note, Ligand has ~$265M in total assets and ~$201M in
                 total liabilities

        • His claim that Ligand “enjoyed solvency for 6 days” does not make sense
               — Insolvency does not work this way
               — The banks would not have underwritten the Bonds if the very issuance of them made
                 Ligand insolvent
                                                    FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                    5 U.S.C. § 552
      31                                            17 C.F.R. § 200.83

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                                              Ligand Pharmaceuticals, Inc.
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        NO Going Concern Letter from Auditor

        • Ligand’s auditor Grant Thornton has not issued a going concern opinion

        • Lemelson takes boilerplate language from Ligand’s 10-K (“[w]e believe that the
          actions presently being taken to generate sufficient operating cash flow provide the
          opportunity for us to continue as a going concern”) and misrepresents it as a “going
          concern” auditor opinion

        • This disclosure language is consistently included in Ligand’s 10-Ks

        • Less than $2M interest due annually- does NOT increase going concern risk




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                                                 5 U.S.C. § 552
      32                                         17 C.F.R. § 200.83

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                                           Ligand Pharmaceuticals, Inc.
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        Ligand is NOT at Risk of Bankruptcy

        • Ligand’s cash generated from operations is growing

               – $21M cash from operations in 2013
               – $30 - $35M cash from operations estimated in 2014
               – Over $45M cash from operations estimated in 2015

        • Bankruptcy is a legal process regarding an entity’s failure to pay its debts

        • Ligand recently fully repaid an outstanding $28M principal loan with no late
          payments or other creditor complaints

        • The company recently qualified to enter into a $245M convertible loan agreement
          after intense due diligence by well-known creditors (no principal, and less than
          $2M interest due annually)- no bankruptcy risk identified


                                                     FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                     5 U.S.C. § 552
      33                                             17 C.F.R. § 200.83

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                                               Ligand Pharmaceuticals, Inc.
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        Convertible Note Process Overview

        • Completed convertible note financing in August 2014

        • Two leading, bulge-bracket banks served as joint bookrunners: Bank of America
          Merrill Lynch and Deutsche Bank
               — Both banks are highly experienced leaders in convertible note offerings with billions
                 of dollars in convertible note financings per year


        • Three weeks of intensive underwriter due diligence encompassing all functional
          areas of company preceded financing- no issues identified
               — Financial, accounting, tax
               — Legal- corporate and IP
               — R&D/regulatory




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                                                    5 U.S.C. § 552
      34                                            17 C.F.R. § 200.83

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                                              Ligand Pharmaceuticals, Inc.
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        Convertible Note Summary
        • $245M convertible note due August 2019

        • 0.75% coupon, $75.05 per share conversion price (35% premium to $55.59 per
          share closing price)

        • $38M stock repurchase (~680k shares) completed concurrently with offering

        • Call spread purchased for $36M, raising conversion price to $125.08 per share
          (125% premium over closing price)

        • Principal to be repaid in cash

        • Successful transaction: Bank of America Merrill Lynch summary comments
               — “No issuer with a sub-$1.5B market cap had priced a convertible with a sub-1.00%
                 coupon since 2007 across all industries”

               — “This [125% premium] represented the highest effective premium achieved via a call
                 spread from any issuer since 2008”

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                                                    5 U.S.C. § 552
      35                                            17 C.F.R. § 200.83

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                                              Ligand Pharmaceuticals, Inc.
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        False “Insolvency” Claims Concerning
        Convertible Note
        •      If the call feature on the convertible note is exercised, common stockholders will NOT be
               “wiped out”
                   —   The note has no call feature
                   —   Creditors may not call in cash repayment before the end of the note’s term except under certain
                       unusual circumstances
                   —   Ligand committed to principal repayment in cash- no dilution to common stockholders

        •      Ligand purchased a call spread option for ~$36M to raise the conversion price from $75/share
               to $125/share
                   —   Stock price has to more than double to realize ANY dilution
                   —   Increased conversion price further significantly reduces any potential dilution to common
                       shareholders

        •      Lemelson claims Ligand paid millions to insure the bonds - we did not
        •      Lemelson reports Ligand’s annual cash interest expense will be $12M per year but in fact it is
               less than $2M
        •      Lemelson’s “11,667-to-1” debt to tangible equity ratio ignores all the cash proceeds from the
               debt
                                                               FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                               5 U.S.C. § 552
      36                                                       17 C.F.R. § 200.83

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                                                         Ligand Pharmaceuticals, Inc.
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           Ligand's use of Non-GAAP Financial Presentation
        •      In reporting financial results, Ligand presents BOTH GAAP and Non-GAAP Net
               Income and EPS, with three NON-CASH, Non-GAAP adjustments:
                —    Stock-based Compensation
                —    Changes in Valuation of Contingent Value Rights
                —    Mark-to-market for Investments Owed to Licensors

        •      We, and the majority of profitable companies in our industry, exclude Stock-based
               Compensation from our Non-GAAP financials because:
                —    It is non-cash
                —    It is based on Black-Scholes Valuation, which requires many market-based inputs

        •      We also exclude changes in Valuation of Contingent Value Rights and Mark-to-
               market for Investments Owed to Licensors
                — These are non-cash charges that come from increases or decreases in the accounting
                  estimate of the fair value of future payments and value of publicly traded securities

        • Lemelson argues that we are being dishonest by providing Non-GAAP EPS
                — We disclose both GAAP and Non-GAAP, so investors are free to incorporate the additional
                  disclosures into their analysis or ignore them
                                                       FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                       5 U.S.C. § 552
      37                                               17 C.F.R. § 200.83

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                                                 Ligand Pharmaceuticals, Inc.
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        Critical Importance of Intangible Assets
        • Lemelson claims intangible assets such as royalties have no real value and he
          calculates Ligand’s net equity excluding intangibles
               — No explanation for this methodology
               — Done solely to paint a misleadingly dire portrayal of Ligand’s financial condition

        • Ligand’s business model predicated on the value of intangible licenses and royalties
               — GAAP requires recording intangible assets- necessary to evaluating financial picture
               — Intangibles are main drivers of Ligand’s revenues and profits
               — Sophisticated investors do not exclude intangibles- they value strength of a company’s
                 business model and prospects for future growth
               — Especially true for companies such as Ligand focused on revenue-generating
                 programs based on royalties and licenses
               — Many biotech companies have minimal tangible assets and robust market caps for
                 this exact reason
               — Without understanding the value of intangibles, retail investors may be persuaded
                 they are worthless and Ligand’s assets are minimal

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                                                     5 U.S.C. § 552
      38                                             17 C.F.R. § 200.83

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                                               Ligand Pharmaceuticals, Inc.
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        Lemelson’s Stated LGND Comps
                   “At a PE ratio of 24x diluted TTM EPS (the average of the Company’s
               supposed competitors, who have long histories of profitability, real R & D and
                         significant assets), the price per share would be $13.92.”
                                          - Emmanuel Lemelson (Report dated June 16, 2014)
           ($BB)                                                                 •    Comp group selection is clearly
                                              Market     2013       Y/Y Rev
                        Name                   Cap      Revenue    Growth (1)
                                                                                      incorrect:
           Johnson & Johnson                     $305       $71           6%              — Average market cap of group is
           Novartis                               228        58           2%
           Roche                                  208        51           4%                160x that of LGND,
           Pfizer                                 193        52          (6%)
           Sanofi                                 149        44          (3%)             — Average 2013 revenue is over
           GlaxoSmithKline                        115        42          (1%)               800x larger than that of LGND
           AstraZeneca                             94        26          (9%)
           Mylan                                   18         7           2%
                                                                                 •    The market values mature, “cash
           Mean                                  $164       $44          (1%)
           Median                                 171        47           0%          cow” firms with much lower
           Ligand Pharmaceuticals                  $1      $0.05        56%           multiples
           (1) 2013 revenue versus 2012
                                                                                 •    LGND higher PE multiple driven by
                                                                                      strong expected growth, turned
                                                                                      profitable in 2013
      39              Confidential

Confidential                                             Confidential Treatment Requested by                          LGND_0080716
                                                            Ligand Pharmaceuticals, Inc.
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                                  Promacta®:
                     Ligand’s Largest Asset
                                                                                  Matt Foehr




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                                          17 C.F.R. § 200.83

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        Lemelson’s False Claims Regarding Promacta

       • Promacta is currently Ligand’s largest financial asset
               — Widely known by investors and disclosed by the Company

       • Lemelson’s false and misleading claims about Promacta were
         the first and one of the most central arguments to start his
         illegal short-selling spree
               — Lemelson has made sensationalized and false statements to mislead
                 investors, including that the drug is “literally going to go away”
               — Numerous misrepresentations about the current and future uses of
                 Promacta
       • Promacta is a growing global drug, currently approved in 3
         indications, and it’s in development for a number of other
         indications that Lemelson ignores entirely 9.4%
                                                  FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                  5 U.S.C. § 552
      41                                          17 C.F.R. § 200.83

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                                            Ligand Pharmaceuticals, Inc.
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        Promacta

        • Oral medicine that boosts platelets to treat thrombocytopenia
               — Platelets are the component of the blood that facilitates clotting
               — People with diseases of the liver have limited ability to produce platelets
               — Cancers, cancer treatment, other blood disorders can lead to low platelets

        • Discovered by Ligand, currently marketed by GSK
        • Patent protected through 2027
        • Potential for major label expansion
               — Over 25 active clinical trials
               — Recent/upcoming data and events in new indications
                                                            6.6%


        • Tiered royalty to Ligand of 4.7% to 9.4%
                                                                                  9.4%
                                                  FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                  5 U.S.C. § 552
      42                                          17 C.F.R. § 200.83

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                                            Ligand Pharmaceuticals, Inc.
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        Promacta: Potential for Future Growth
        •      Similar to red blood cell and white blood cell markets, the newer low platelet
               market is made up of a number of “sub-markets” in which the medical need
               is real, life-threatening and unmet
        •      Four different areas create growth opportunity for Promacta, and all have
               been the subject of Lemelson’s lies or omissions
                                                                        Ongoing Development
                          Currently Approved Indications                     New Markets


               ITP    Thrombocytopenia
                                        HCV                                 AA                   ORT
                                                                                                   Oncology
         Idiopathic
     Thrombocytopenia     Induced by                                Aplastic Anemia                 Related
                       Hepatitis C Virus                                                       Thrombocytopenia
               95 Markets                49 Markets                         1 Market                Major clinical
        Pediatric ITP filing                                                                    investment on-going:
                                        Global filing and           Recent FDA Approval
       planned for year end                                                                      MDS, AML, CLL, CIT,
                                      launch investment             Other Markets Filed                Others


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                                                       5 U.S.C. § 552
      43                                               17 C.F.R. § 200.83

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                                                 Ligand Pharmaceuticals, Inc.
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        Promacta: Lemelson’s False Claims
      • “I mean, people say, well, Promacta is used for ITP. Well, no, it's not.”
      • “ITP not a commercially viable application for Promacta®”
      • “… suggestions that idiopathic thrombocytopenic purpura (ITP) is a
        commercially viable alternative application are false.”



               ITP                    Actual Facts About Promacta in ITP
                                      •   Approved for ITP in 2008, following FDA Advisory Panel
         Idiopathic                       unanimous 16-0 vote in favor
     Thrombocytopenia                 •   Currently marketed in 95 countries for use in ITP
               95 Markets             •   Partner GSK recently announced positive Phase 3 data
                                          in pediatric ITP and plans to file by end of 2014 globally
        Pediatric ITP filing
       planned for year end               for approval in children
                                      •   Estimated 90% of current revenue for Promacta is
                                          derived from its use in ITP
                                                       FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                       5 U.S.C. § 552
      44                                               17 C.F.R. § 200.83

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                                                 Ligand Pharmaceuticals, Inc.
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        Promacta: Lemelson’s False Claims

      • “Based on recent FDA comments, Gilead’s revolutionary Sovaldi® drug will
        virtually eliminate demand for Promacta”



                                      Actual Facts About Promacta in HCV

            HCV
     Thrombocytopenia
                                      •   Promacta is a supportive care drug used to boost
                                          platelets along with other drugs (that treat the virus)
                                          while the patient’s liver is recovering
         Induced by
      Hepatitis C Virus
                                      •   Promacta has continued to demonstrate growth
               49 Markets                 following the launch of Gilead’s Solvadi in 2013 and is
             Global filing and            continuing to expand into new markets
           launch investment


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                                                       5 U.S.C. § 552
      45                                               17 C.F.R. § 200.83

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                                                 Ligand Pharmaceuticals, Inc.
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        Promacta: Lemelson’s False Claims

      • “There has never been evidence presented that Promacta® will be able to
        generate significant revenue…”

                                   Actual Facts About Promacta in Aplastic Anemia
                                   •      Recently approved in the US and filed globally

               AA                  •

                                   •
                                          Received Breakthrough Therapy and Fast Track
                                          Designation by the FDA
                                          Data published in New England Journal of Medicine
        Aplastic Anemia            •      Recognized globally as a major medical advancement:
                                       Dr. Danielle Townsley                                  Dr. Phil Scheinberg
               1 Market                                                                       Hospital Sao Paolo, Sao Paolo, Brazil
                                       Sr. Clinical Fellow - NIH
        Recent FDA Approval         “… we noticed that this drug                              “…one of the most important
        Other Markets Filed         was doing something                                       advancements in the area of
                                    absolutely phenomenal.”                                   aplastic anemia”

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                                                           5 U.S.C. § 552
      46                                                   17 C.F.R. § 200.83

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                                                    Ligand Pharmaceuticals, Inc.
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        Promacta: Lemelson’s False Claims

      • “There is no evidence of a significant market for Promacta® outside of Hepatitis
        C indications..”


                               Actual Facts About Promacta in ORT

           ORT
         Oncology
                               •   Clinical data has been presented at major medical
                                   meetings illustrating Promacta’s use in MDS, AML, CLL,
                                   CIT and other indications
          Related                    — Shown to inhibit leukemia cell growth and boost platelets
     Thrombocytopenia                — 80% response rate in CLL-associated ITP
           Major clinical
                               •   GSK recently initiated a global Phase 3 trial in MDS,
       investment on-going:        plans have been announced to file for approval in 2015
        MDS, AML, CLL, CIT,
              Others           •   Taken together, these potential indications represent
                                   the largest potential market for Promacta
                                                 FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                 5 U.S.C. § 552
      47                                         17 C.F.R. § 200.83

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                                           Ligand Pharmaceuticals, Inc.
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        Promacta: Lemelson’s False Claims

        First, Lemelson creates investor fear about Ligand’s lead program
           • Post Q1 ‘14 Results: “The impact to sales of Promacta® from
             revolutionary new drugs has already begun to manifest itself
             in the Company’s Q1 results.”

           And then, changes his predictions when proven wrong…

           • Post Q2 ‘14 Results: “Promacta sales have not yet been
             impaired by new Hep C regimens that address multiple
             genotypes, but will be.”

      Common Theme: Lemelson Replaces One Bogus Claim with Another

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                                               5 U.S.C. § 552
      48                                       17 C.F.R. § 200.83

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                                         Ligand Pharmaceuticals, Inc.
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                Promacta: Global Quarterly Revenue
                $100
                                                                       ROW
                 $90                                                                •      Consistent annual revenue
                                                                       EU                  growth since Promacta
                 $80
                                                                       US
                                                                                           launched
                 $70
                                                                                    •      Q2 2014, revenues grew 31%
   $ millions




                 $60
                                                                                           over Q2 2013
                 $50
                                                                                    •      All three commercial regions
                 $40
                                                                                           are growing
                 $30

                 $20

                 $10

                 $0
                                                                      GSK reported quarterly sales. Figures converted from GBP to USD,
                       Q1 Q2 Q3 Q4 Q1 Q2 Q3 Q4 Q1 Q2 Q3 Q4 Q1 Q2      Emerging Markets as defined by GSK quarterly reports

                            2011         2012      2013    2014
                                                               FOIA CONFIDENTIAL TREATMENT REQUESTED
          49                                                   5 U.S.C. § 552
                                                               17 C.F.R. § 200.83

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                                                         Ligand Pharmaceuticals, Inc.
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        Promacta Projections: Sell-Side Analysts
      • Seven pharma analysts provide projections for Promacta. All of them show it
        growing, none forecast it “going away”
                Revenue Projections for GSK …                …Yield these Royalty Projections for Ligand




                                                                                                       High
                                                                                                       Low
                                                                                                       Average


                                                           $ millions
                $ millions




                                                                                                Sales figures converted from
                                                                                                GBP to USD
                                                                                                Conversion rate = 1.68

                                                                                                7 GSK/Novartis covering
                                                                                                analysts reports as of 8/4/14



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                                                        5 U.S.C. § 552
      50                                                17 C.F.R. § 200.83

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                                                  Ligand Pharmaceuticals, Inc.
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                Illegal “Pump-and-Dump”
                   and Boiler Room Tactics




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                                          17 C.F.R. § 200.83

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        Illegal Pump-and-Dump Scheme
           •   This is a classic pump-and-dump scheme in reverse – Lemelson is trying to
               incite retail investors to dump shares at artificially low prices to benefit his
               short position.

                — “Ligand’s fair value is roughly $0 per share, or 100 percent below the current
                  stock price.”

                — “You know, Ligand is attracting a certain type of investor, I mean, people who
                  would buy a lottery ticket.”

                — “They’ve diluted their shareholders 72 percent over the last 10 years.”

                — “The casual observer might even mistake what Ligand leadership has coined a
                  ‘creative transaction’ as a common game of three-card Monte, played on any
                  street corner – shills included.”

           • The SEC brought a similar case involving a Wall Street short seller who
             spread a false rumor to profit on his short position.

                — SEC v. Paul S. Berliner, No. 08-CV-3859 (S.D.N.Y.)
                                                    FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                    5 U.S.C. § 552
      52                                            17 C.F.R. § 200.83

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                                              Ligand Pharmaceuticals, Inc.
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        Boiler Room Tactics
           •   Lemelson uses boiler room tactics – creating a false sense of urgency and
               misrepresenting the company at every turn.

                — “So I would say to the average shareholder in the most academic and
                  sophisticated terms I can think of, you know, run, Bambi, run.”

                — “The financial condition of the company continues to erode rapidly offering
                  essentially zero margin of safety to common shareholders.”

                — “Should the call feature of Ligand’s debt be exercised, as is possible and even
                  likely, common shareholders would be wiped out immediately.”

           • “Zero margin of safety” improperly implies guarantee that stock can’t go up
             any period of time

           • Lemelson’s tactics are similar to many of the SEC’s boiler room scheme
             enforcement actions.

                — E.g., SEC v. Benger, No. 09-CV-676 (N.D. Ill.)
                                                    FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                    5 U.S.C. § 552
      53                                            17 C.F.R. § 200.83

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                                              Ligand Pharmaceuticals, Inc.
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        Illegal Stock Manipulation
        •      Lemelson also uses his supposed hedge fund returns just like a stock
               manipulator who falsely claims great returns in a stock tip newsletter.

                — “During this period, the fund beat the benchmark S&P 500 Total Returns Index
                  by 407.95 percent, returning 87.22 percent net of all fees and expenses.”
                  (referring to LTM performance) – 7/13/14 LCM Press Release

                — “Assets under management have grown in about (sic) seven-fold in the last 24
                  months.”

                — His returns include ill-gotten gains from egregiously false and misleading
                  statements about Ligand

        • The Commission routinely warns investors of funds with “overly consistent
          returns” for this very reason.

                — E.g., SEC v. Hunter, No. 12-CV-3123 (S.D.N.Y.); Securities and Exchange
                  Commission, Ponzi Schemes, http://www.sec.gov/answers/ponzi.htm.

                                                    FOIA CONFIDENTIAL TREATMENT REQUESTED
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      54                                            17 C.F.R. § 200.83

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                    Damage to Ligand and
                        LGND Shareholders




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                                          17 C.F.R. § 200.83

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        Significant Damage to Ligand and Investors
           •   Egregious manipulation of Ligand’s stock and significant loss of Market Value

                – Loss of approximately $400 million in market cap or 29% over 3 months

           •   Increase cost to debt offering

                –   Ligand issued $245 million in convertible debt. Had Lemelson not been viciously attacking
                    Ligand and inciting a revolt-like short selling environment, Ligand could have priced its
                    convertible bonds at a higher stock price, saving the company over $10 million

           •   Enormous distraction to investors and declining investor and analyst interest

           •   Unwitting retail investors are taking bait and being lured into fraudulent scheme

           •   Investors in his fund and those following his trades; market reaction shows investors
               are following his advice and selling at artificially depressed prices

           •   Classic Ponzi scheme where victims do not even learn of the fraud or damage until
               after some intervention

                                                      FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                      5 U.S.C. § 552
      56                                              17 C.F.R. § 200.83

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                                                Ligand Pharmaceuticals, Inc.
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         Significant Damage to Ligand Shareholders

     •     Credible Wall Street sources have publically
           attributed Ligand’s stock decline directly to
           Lemelson’s false statements about the Company

     •     Reports issued by Roth Capital and Cantor
           Fitzgerald refuted Lemelson’s statements
               — Lemelson later launched public attack of Roth
                 Capital analyst, discouraging others from
                 commenting publicly

     •     Ligand has fielded a significant amount of calls,
           emails and in-person comments from current
           shareholders relating to the false statements




                                                       FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                       5 U.S.C. § 552
      57                                               17 C.F.R. § 200.83

Confidential                                  Confidential Treatment Requested by              LGND_0080734
                                                 Ligand Pharmaceuticals, Inc.
                       Case 1:18-cv-11926-PBS Document 46-6 Filed 01/07/20 Page 58 of 60


        LGND: Stock Price Over Lemelson Period
                                                                                    •   Positive human data for diabetes drug
                                                                                    •   $200 million deal signed for cancer medicine ($1.2 mil upfront payment)
                                                   Ligand news                      •   Phase 3 trial initiated for Promacta MDS
                                                 since Lemeleson                    •   Reported strong Q2 results, raised full year 2014 guidance
                                                                                    •   Promacta achieves record quarterly revenue
                                                  June 16 report                    •   Ligand partner (SAGE) completes highly successful IPO
                                                                                    •   Closed $245 convertible offering, announces $200 mil repurchase
               120%                                                                 •   Signed multiproduct deal with Avion for Captisol
                            June 16             July 3
                           1st Report         2nd Report
               115%                                                    Aug 13
                                                                    2nd Interview
               110%                                                                       Aug 14
                                                                                        4th Report
               105%
                                                                                                                     LGND
               100%                                                                                                  ~40% lower
                                                                                                Sept 17              than BTK
                                                                                             3rd Interview           index
               95%

                                                         Aug 4                                                       ~$400 million
               90%                                     3rd Report                         Aug 22                     lost market
                                                                                        5th Report
                                                                                                                     cap
               85%


               80%
                              June 19
                           1st Interview
               75%


               70%
                                               07/14                        08/14                    09/14
                                                                  LGND
                                                                  BTK
                      Note: Market data as of 19-Sep-2014

                                                                      FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                                      5 U.S.C. § 552
      58                                                              17 C.F.R. § 200.83

Confidential                                                Confidential Treatment Requested by                                                    LGND_0080735
                                                               Ligand Pharmaceuticals, Inc.
               Case 1:18-cv-11926-PBS Document 46-6 Filed 01/07/20 Page 59 of 60




                     Urgent Action Needed




                                          FOIA CONFIDENTIAL TREATMENT REQUESTED
                                          5 U.S.C. § 552
                                          17 C.F.R. § 200.83

Confidential                     Confidential Treatment Requested by               LGND_0080736
                                    Ligand Pharmaceuticals, Inc.
                        Case 1:18-cv-11926-PBS Document 46-6 Filed 01/07/20 Page 60 of 60


           Urgent Action Needed
           •   This is exactly the sort of matter where the SEC brings an emergency action
               and prevails:

                — SEC v. Cope, 14-CV-7575 (S.D.N.Y. Sept. 2014)

                — SEC v. Galas, 14-CV-5621 (W.D. Wash. Aug. 2014)

                — SEC v. Babikian, No. 14-CV-1740 (S.D.N.Y. Mar. 2014)

           •   Like the brothers in SEC v. Hunter, No. 12-CV-3123 (S.D.N.Y) —who told
               investors they had a stock picking robot, but really were just acting on
               financial incentives — Lemelson’s financial analysis is “in his head” and gets
               astounding returns

           •   But all he does in his head is pick out things to lie about Ligand to cover his
               own short position

           •   The only way to prevent further harm to Ligand investors is for the SEC to
               bring an immediate action
                                                   FOIA CONFIDENTIAL TREATMENT REQUESTED
                                                   5 U.S.C. § 552
      60                                           17 C.F.R. § 200.83

Confidential                              Confidential Treatment Requested by               LGND_0080737
                                             Ligand Pharmaceuticals, Inc.
